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                                  KP-0442
                              
                        
          
        
      
    
  

  

  
    
      KP-0442
              Ken Paxton
                  
        Categories
                        
Dual Office Holding
              , 
Incompatibility of Offices
              , 
Fire Fighters
              , 
Municipal Officers and Employees
        
      
            
                  Summary
                      The dual service contemplated under Local Government Code section 21.003 is prohibited without a resolution adopted by the city council
      
                          
            Opinion File
                         kp-0442.pdf 

      
          
                
        
      
    

          
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    RQ-0486-KP

      
  
                November 14, 2022

      
  
      
      
        Request PDF
                     RQ0486KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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